                                                                Form 1
                                            Individual Estate Property Record and Report                                                                    Page: 1

                                                             Asset Cases
Case No.:    19-06264                                                                             Trustee Name:      (620540) Erica R. Johnson, Trustee
Case Name:         LYONS CHEVROLET BUICK GMC INC                                                  Date Filed (f) or Converted (c): 09/24/2020 (c)
                                                                                                  § 341(a) Meeting Date:       11/04/2020
For Period Ending:         03/31/2022                                                             Claims Bar Date:      01/14/2021

                                       1                                    2                    3                      4                   5                    6

                           Asset Description                             Petition/       Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)               Unscheduled      (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                          Values               Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                  and Other Costs)

    1       Proceeds from Sale of Dealership (u)                                0.00                 50,000.00                           100,000.00                           FA
            Per Order entered 05.21.20 (see paragraph 13 of
            Docket Entry 221), Debtor to reserve $100k out of the
            proceeds of the sale of the dealership for the following
            purposes:
            (1) $50k to cover admin expenses allowed after notice
            and hearing for (a) wages, salaries, and commissions
            for services rendered to the Debtor after the Petition
            Date; and (b) any of the actual, necessary expenses of
            the estate excluding professional services rendered to
            the Debtor; and
            (2) $50k for quarterly fees due under 28 USC Sec.
            1930 or to pay professional fees to investigate and
            pursue any causes of action by the estate excluding
            professional services rendered to the Debtor.

            11/10/20 - The Trustee received the funds from the
            Attorney for the DIP.

            04/30/21 - Status Update for Annual Reports for Period
            Ending March 31, 2021: There is an ongoing dispute
            between the Trustee and GM Financial regarding the
            interpretation of the Order found at Docket Entry 221.
            The Trustee will continue to hold such funds pending
            final resolution of such dispute. The true value of the
            asset as to the bankruptcy estate is still unknown to
            Trustee at this time; therefore, Trustee has assigned a
            value of $1.00 to "Column 3: Estimated Net Value..."

            06/10/21 – JOINT MOTION TO SET BAR DATE FOR
            CHAPTER 11 ADMINISTRATIVE EXPENSE
            APPLICATIONS, BAR DATE FOR APPLICATIONS
            FOR PAYMENT OF EXPENSES OF THE CHAPTER
            11 ESTATE FROM FUND AND BAR DATE TO
            OBJECT TO DISBURSEMENT TO GM FINANCIAL
            filed (DE 295). Such Joint Motion clarifies that the
            $100k is property of the estate; however, the first
            portion of the $50k was established to pay a narrower
            subset of administrative expenses of the Chapter 11
            (see #1 above) (the “Chapter 11 Admin Fund”). Any
            amounts of the Chapter 11 Admin Fund not used for
            the stated purposes will be returned to GM Financial as
            payment of the secured lien held by GM Financial in the
            asset.

            07/16/21 – Order Granting Motion to Set Chapter 11
            Administrative Claims Bar Date entered (DE 301).
            Such Order establishes procedures for any holder of an
            alleged administrative claim to follow to be paid by the
            Trustee out of the funds.

            07/19/21 – NOTICE OF BAR DATE FOR CHAPTER 11
            ADMINISTRATIVE EXPENSE APPLICATIONS, BAR
            DATE FOR APPLICATIONS FOR PAYMENT OF
            EXPENSES OF THE CHAPTER 11 ESTATE FROM
            FUND AND BAR DATE TO OBJECT TO
            DISBURSEMENT TO GM FINANCIAL filed (DE 304).
            The deadline to file an application and/or object to
            disbursement of $50k to GM is August 16, 2021.

            08/27/21 – No objections to disbursement of $50k to
            GM. Funds disbursed to GM. Asset fully administered.




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                                                              Asset Cases
Case No.:    19-06264                                                                              Trustee Name:      (620540) Erica R. Johnson, Trustee
Case Name:         LYONS CHEVROLET BUICK GMC INC                                                   Date Filed (f) or Converted (c): 09/24/2020 (c)
                                                                                                   § 341(a) Meeting Date:       11/04/2020
For Period Ending:          03/31/2022                                                             Claims Bar Date:      01/14/2021

                                        1                                    2                    3                      4                   5                    6

                           Asset Description                              Petition/       Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)                Unscheduled      (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                           Values               Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                   and Other Costs)

    2       Possible Claims re Preferential and/or                               0.00                      0.00                                   0.00                         FA
            Fraudulent Transfers (u)
            Relating to 11 U.S.C. Section 547; 11 U.S.C. Section
            548; and/or 11 U.S.C. Section 549.

            10/09/20 – Subpoenas sent to First Commerce Bank,
            First Bank (fka Franklin Synergy Bank), Simmons Bank
            (fka First State Bank) requesting 4 years of bank
            statements.

            01/18/21 – Second round of subpoenas sent to
            American Express, First Commerce Bank, First Bank,
            Renasant Bank, Simmons Bank, US Bank, Wells Fargo
            requesting 4 years of statements relating to lines of
            credit, credit cards, or secured and/or unsecured loans.

            04/30/21 - Status Update for Annual Reports for Period
            Ending March 31, 2021: The Trustee is currently
            performing an extensive review of the Debtor's bank
            records and will analyze and determine if the Debtor
            made payments/transfers prior to filing this bankruptcy
            that the Trustee can avoid as either preferential and/or
            fraudulent transfers and recover on behalf of the
            bankruptcy estate. The Trustee is still waiting to get a
            response from American Express to the January 18,
            2021 subpoena. Once she receives these statements,
            she will be able to finalize her review and send her
            findings to Armstrong Law to pursue such causes of
            action. The true value of the asset is still unknown to
            Trustee at this time; therefore, Trustee has assigned a
            value of $1.00 to "Column 3: Estimated Net Value..."

            On September 24, 2021, the Trustee filed a lawsuit
            against numerous creditors/parties to avoid fraudulent
            and/or preferential transfers and recover the same on
            behalf of the bankruptcy estate. The disposition of this
            lawsuit can be found under Asset No. 5. Asset fully
            administered

    3       Cause of action against Alan Reuber                         6,500,000.00                       1.00                                   0.00                    1.00
            Relating to Breach of Contract/tort from original
            purchase agreement relating to sale of dealership.

            04/30/21 - Status Update for Annual Reports for Period
            Ending March 31, 2021: The Trustee's attorney,
            Armstrong Law, is investigating this cause of action to
            determine if the estate has a viable claim against Mr.
            Reuber. The true value of the asset is still unknown to
            Trustee at this time; therefore, Trustee has assigned a
            value of $1.00 to "Column 3: Estimated Net Value..."

            09/24/21 – Complaint filed against Alan Reuber. See
            Case 1:21-ap-90134.

            04/29/22 - Status Update for Annual Reports for Period
            Ending March 31, 2022: Parties are engaged in
            settlement discussions. The true value of the asset is
            still unknown to Trustee at this time; therefore, Trustee
            has assigned a value of $1.00 to "Column 3: Estimated
            Net Value..."

    4       Account at First Bank ending in 7081 (u)                             0.00                     70.47                                  70.47                         FA
            11/24/21 - Received check from Richard Lyons from
            First Bank in the amount of $70.47. Such check
            represents balance in account when account closed by
            bank (Account No. xxx7081).




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                                                              Asset Cases
Case No.:    19-06264                                                                               Trustee Name:      (620540) Erica R. Johnson, Trustee
Case Name:         LYONS CHEVROLET BUICK GMC INC                                                    Date Filed (f) or Converted (c): 09/24/2020 (c)
                                                                                                    § 341(a) Meeting Date:       11/04/2020
For Period Ending:          03/31/2022                                                              Claims Bar Date:      01/14/2021

                                        1                                     2                    3                      4                   5                    6

                           Asset Description                               Petition/       Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)                 Unscheduled      (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                            Values               Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                         Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                                    and Other Costs)

    5       Johnson v. Richard Kewin Lyons et al;                                 0.00                 6,125.11                               6,124.11                     1.00
            Case 1:21-ap-90135 (u)
            Fraudulent and/or Preferential Transfer Complaint filed
            against 16 Defendants on 09.24.21 (See Case 1:21-ap-
            90135):
            01. Richard Kewin Lyons for various amounts relating
            to different categories of transfers (fraudulent).

            02. Susan George Lyons for various amounts relating
            to different categories of transfers (fraudulent).

            03. Zachary Richard Lyons for various amounts relating
            to different categories of transfers (fraudulent).

            04. R&S Lyons, LLC for various amounts relating to
            different categories of transfers (fraudulent).

            05. Lyons Ford, LLC for various amounts relating to
            different categories of transfers (fraudulent).

            06. Susan George Lyons, Trustee, Susan George
            Lyons, Trustee, is the Trustee of the Susan George
            Lyons Revocable Trust dated March 10, 2009 in the
            amount of $13,553.53 (fraudulent).

            07. E. Samuel Commella, Jr. in the amount of $125k
            (fraudulent).

            08. Kaytlin Marie Piersol in the amount of $6,754.12
            (fraudulent).

            09. CAPITAL ONE BANK (USA), NATIONAL
            ASSOCIATION in the amount of $6,124.11 (fraudulent).

            10. FIRSTBANK, FIRSTBANK, as successor in
            interest to Franklin Synergy Bank in the amount of
            $8,673.94 (fraudulent) and $9,173.69 (preferential).

            11. FIRST COMMERCE BANK in the amount of
            $111,510.29 (fraudulent) and $10,430.72 (preferential).

            12. Ocwen Financial Corporation in the amount of
            $33,529.39 (fraudulent).

            13. Renasant Bank in the amount of $519,952.60
            (fraudulent).

            14. Simmons Bank in the amount of $31,091.78
            (fraudulent).

            15. Synchrony Financial in the amount of $14,881.22
            (fraudulent).

            16. Christopher P. Hope in the undetermined amount
            (fraudulent) and $20,604.64 (preferential).

            04/29/22 - Status Update for Annual Reports for Period
            Ending March 31, 2022: Settlements reached with
            numerous defendants. Motions to approve settlements
            will be filed upon resolution of lawsuit against remaining
            defendants. The true value of the asset is still unknown
            to Trustee at this time; therefore, Trustee has assigned
            a value of $1.00 to "Column 3: Estimated Net Value..."



   5        Assets Totals (Excluding unknown values)                     $6,500,000.00              $56,196.58                           $106,194.58                      $2.00




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                                    Individual Estate Property Record and Report                                                      Page: 4

                                                     Asset Cases
Case No.:   19-06264                                                          Trustee Name:      (620540) Erica R. Johnson, Trustee
Case Name:     LYONS CHEVROLET BUICK GMC INC                                  Date Filed (f) or Converted (c): 09/24/2020 (c)
                                                                              § 341(a) Meeting Date:    11/04/2020
For Period Ending:     03/31/2022                                             Claims Bar Date:     01/14/2021


Major Activities Affecting Case Closing:

                           10/16/20 - Trustee's Notice of Assets & Request for Notice to Creditors filed. Deadline to file Proof of Claim
                           is 01.14.21. See Docket Entry 251.

                           04/30/21 - Status Update for Annual Reports for Period Ending March 31, 2021:
                           1. Finalize preferential/fraudulent transfer investigation pursue such claims.
                           2. Resolve dispute with GM Financial regarding funds relating to sale of dealership.

                           04/29/22 - Status Update for Annual Reports for Period Ending March 31, 2022:
                           1. Litigate/settle remaining defendants in Case 1:21-ap-90135 (and obtain court approval on settlements).
                           2. Litigate/settle Case 1:21-ap-90134.
                           3. Accountant prepare and file estate tax returns.
                           4. Applications for compensation for professionals.

                           NOTE: Trustee used the Conversion Statements and Schedules filed 11.20.20 (DE 260), and subsequent
                           amendments, when preparing Form 1.


Initial Projected Date Of Final Report (TFR): 12/30/2022             Current Projected Date Of Final Report (TFR):     12/30/2022




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                                                Cash Receipts And Disbursements Record
Case No.:              19-06264                                             Trustee Name:                    Erica R. Johnson, Trustee (620540)
Case Name:             LYONS CHEVROLET BUICK GMC INC                        Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***4907                                           Account #:                       ******7215 Checking
For Period Ending:     03/31/2022                                           Blanket Bond (per case limit):   $720,000.00
                                                                            Separate Bond (if applicable):   N/A

    1            2                     3                                            4                               5                   6                     7

  Trans.    Check or       Paid To / Received From              Description of Transaction       Uniform       Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code       $                       $

 11/10/20     {1}      Latham, Luna, Eden, & Beaudine,      $100k from sale of dealership per   1229-000           100,000.00                                 100,000.00
                       LLP                                  Order entered 05.21.20 (see
                                                            paragraph 13 of Docket Entry
                                                            221).
 11/30/20              Metropolitan Commercial Bank         Bank and Technology Services        2600-000                                     85.24                99,914.76
                                                            Fees
 01/28/21     101      International Sureties, LTD          Chapter 7 Blanket Bond for          2300-000                                     66.26                99,848.50
                                                            01.01.21 to 1.01.22; Bond
                                                            #016026373
 02/26/21              Metropolitan Commercial Bank         Bank and Technology Services        2600-000                                    133.38                99,715.12
                                                            Fees
 03/23/21              Metropolitan Commercial Bank         Bank and Technology Services        2600-000                                    -218.62               99,933.74
                                                            Fees
 05/10/21     102      Wells Fargo Bank, N.A.               Subpoena Expenses per Invoice       2990-000                                     53.20                99,880.54
                                                            No. 362802.
 08/18/21     103      AmeriCredit Financial Services       Payment of Chapter 11 Admin         4210-000                                50,000.00                 49,880.54
                       d/b/a GM Financial                   Fund per Order Granting Motion to
                                                            Set Chapter 11 Administrative
                                                            Claim Bar Date entered 07.16.21
                                                            (DE 301).
 10/01/21     104      Caren Neal, LCR                      Court Reporter Fee & Transcript     2990-000                                    721.25                49,159.29
                                                            for August 12, 2021 2004
                                                            Examination of Richard Lyons.
                                                            See Invoice No. 1965.
 10/01/21     105      Clerk, United States Bankruptcy      AP Filing Fee for Case No. 1:21-    2700-000                                    350.00                48,809.29
                       Court                                ap-90134
 10/01/21     106      Clerk, United States Bankruptcy      AP Filing Fee for Case No. 1:21-    2700-000                                    350.00                48,459.29
                       Court                                ap-90135
 10/05/21     107      Caren Neal, LCR                      Court Reporter Fee & Transcript     2990-000                                    521.75                47,937.54
                                                            for September 14, 2021 2004
                                                            Examination of Susan Lyons &
                                                            Richard Lyons. See Invoice No.
                                                            1969.
 11/24/21     {4}      First Bank                           Closing Proceeds in Account         1229-000                  70.47                                   48,008.01
                                                            xxx7081
 01/07/22     {5}      CAPITAL ONE BANK (USA),              CAPITAL ONE PAYMENT 220107          1241-000                6,124.11                                  54,132.12
                       NATIONAL ASSOCIATION                 CTX
 01/20/22     108      International Sureties, LTD          Chapter 7 Blanket Bond for          2300-000                                     36.57                54,095.55
                                                            01.01.22 to 01.01.23; Bond
                                                            #016026373
 01/31/22              Metropolitan Commercial Bank         Bank and Technology Services        2600-000                                      7.19                54,088.36
                                                            Fees
 02/28/22              Metropolitan Commercial Bank         Bank and Technology Services        2600-000                                      9.10                54,079.26
                                                            Fees
 03/31/22              Metropolitan Commercial Bank         Bank and Technology Services        2600-000                                     10.70                54,068.56
                                                            Fees

                                           COLUMN TOTALS                                                           106,194.58            52,126.02                $54,068.56
                                                     Less: Bank Transfers/CDs                                               0.00               0.00
                                           Subtotal                                                                106,194.58            52,126.02
                                                     Less: Payments to Debtors                                                                 0.00

                                           NET Receipts / Disbursements                                         $106,194.58             $52,126.02




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{ } Asset Reference(s)
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                                                       Form 2
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                                       Cash Receipts And Disbursements Record
Case No.:           19-06264                                Trustee Name:                   Erica R. Johnson, Trustee (620540)
Case Name:          LYONS CHEVROLET BUICK GMC INC           Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***4907                              Account #:                      ******7215 Checking
For Period Ending: 03/31/2022                               Blanket Bond (per case limit): $720,000.00
                                                            Separate Bond (if applicable): N/A

                                       Net Receipts:         $106,194.58
                           Plus Gross Adjustments:                 $0.00
                         Less Payments to Debtor:                  $0.00
                 Less Other Noncompensable Items:                  $0.00

                                         Net Estate:         $106,194.58




                                                                                               NET                     ACCOUNT
                                 TOTAL - ALL ACCOUNTS                    NET DEPOSITS     DISBURSEMENTS                BALANCES
                                 ******7215 Checking                          $106,194.58         $52,126.02               $54,068.56

                                                                              $106,194.58                $52,126.02          $54,068.56




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